18-23538-shl   Doc 484-1   Filed 11/06/18 Entered 11/06/18 01:00:39   Exhibit A -
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18-23538-shl   Doc 484-1   Filed 11/06/18 Entered 11/06/18 01:00:39   Exhibit A -
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18-23538-shl   Doc 484-1   Filed 11/06/18 Entered 11/06/18 01:00:39   Exhibit A -
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18-23538-shl   Doc 484-1   Filed 11/06/18 Entered 11/06/18 01:00:39   Exhibit A -
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